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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


MALLORY SMITH, Individually and on                                               PLAINTIFF
behalf of All Others Similarly Situated


vs.                                 No. 4:18-cv-797-KGB


OM PURSHANTAM, LLC                                                             DEFENDANTS
and TANVI DESAI


                            JOINT NOTICE OF SETTLEMENT


      COMES NOW Plaintiff and Defendants, by and through their respective attorneys,

and for their Joint Notice of Settlement, state as follows:

         1.   The Parties have reached a settlement agreement in principle, which will

be reduced to writing, that resolves all alleged damages that Plaintiff claims in the

Amended Complaint, including but not limited to alleged unpaid overtime, liquidated and

consequential damages, and lost wages, in exchange for a dismissal with prejudice and

release of all claims, but not including the amount of attorney’s fees and costs, which is

a reserved issue as described below.

         2.   After notice duly given, no opt-ins joined this case, and the settlement has

been agreed to on an individual basis between only Plaintiff and Defendants.

         3.   An essential element of the settlement agreement is that Defendants will

pay Plaintiff’s reasonable attorney fees and costs, the amount of which is a reserved

issue. The Parties agree that the amount of fees and costs to be paid by Defendants will

be resolved either by further separate negotiations or by a fee petition submitted to this

Court.
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       4.      By April 17, the Parties propose that either (a) Plaintiff will file a fee petition

if negotiations over the settlement of fees and costs break down, (b) the Parties will file

a joint status report on the status of the Parties’ negotiations regarding fees, or (c) the

Parties will file a joint stipulation of dismissal.

       5.      The Parties agree that their agreement obviates the need for the

settlement conference scheduled on Saturday, March 14, and the trial.

       WHEREFORE, the Parties respectfully request this Court to take notice of the

Parties’ agreement, cancel the settlement conference and the trial, allow until April 17 to

file the appropriate paperwork as describe in paragraph 4 above, and for all other

necessary and proper relief.

                                                        Respectfully submitted,

                                                        MALLORY SMITH, Individually
                                                        and on Behalf of All Others
                                                        Similarly Situated, PLAINTIFF

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